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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


GRANT ARMSTRONG & ARMSTRONG RX GP,                   )
LLC,                                                 )
                                                     )
            Plaintiffs,                              )
            v.                                       )
                                                     ) Case No. 1:16-CV-10666-JGD
 WHITE WINSTON SELECT ASSET FUNDS,                   )
 LLC,                                                )
                                                     )
            Defendant/Third Party Plaintiff,         )
            v.                                       )
                                                     )
 ARMSTRONG RX II GP, LLC & ARMSTRONG                  )
 RX II, LP,                                           )
                                                      )
            Third-Party Defendants.                   )

                  JOINT MOTION TO AMEND SCHEDULING ORDER [DKT 72]

           Plaintiffs Grant Armstrong and Armstrong RX GP, LLC (“Plaintiffs”), Defendant and

Third Party Plaintiff White Winston Select Asset Funds, LLC (“White Winston”) and Third-

Party Defendants Armstrong RX II GP, LLC & Armstrong RX II, LP (“Third Party

Defendants”), all of the parties in this civil action (collectively, the “Parties”) hereby jointly

move to amend the December 31, 2017 deadline for the completion of fact discovery set forth in

this Court’s April 14, 2017 “Scheduling Order and Order on Defendant’s Motion to Dismiss and

Plaintiffs’ Motion for Leave to Amend” [Dkt. 72] (the “Scheduling Order”) to June 30, 2018

(the “Amended Deadline”), and respectfully submit the following:

           1.       Plaintiffs commenced this suit in Texas state court on December 8, 2015. White

Winston removed this case to the United States District Court for the Northern District of Texas

and thereafter this case was transferred to this Court on or about January 8, 2016. The parties




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have consented to proceed before a United States Magistrate and, this matter has been assigned

to Magistrate Judge Judith G. Dein.

           2.       On October 6, 2016, White Winston filed its “Motion to Dismiss for Failure to

State a Claim” [Dkt. 37] (“Motion to Dismiss”). After multiple rounds of extensive briefing,

Magistrate Judge Dein conducted a hearing on the Motion to Dismiss on April 13, 2017 [Dkt.

76]. The Court ordered the parties to submit post-hearing briefs, and it took the Motion to

Dismiss under advisement. The parties timely filed their post-hearing briefs. The Motion to

Dismiss remains under advisement as of the filing of this Joint Motion.

           3.       The Court ordered the parties to complete fact discovery under its Scheduling

Order by December 31, 2017. [Dkt. 72] at ¶4.

           4.       Under the Scheduling Order, the parties have served, responded to, and, in certain

respects, objected to interrogatories and document requests. The parties submitted, and the Court

entered it “Order and Discovery Plan for Electronically Stored Information” [Dkt. 85] (“ESI

Order”). The parties have commenced a “rolling” document production by exchanging certain

documents and ESI. The parties have conferred regarding further document productions, while

reserving all of their respective rights, claims, and objections.

           5.       By this Joint Motion, the Parties request that the Court amend paragraph 4 of the

Scheduling Order to provide that all fact discovery shall be completed by the Amended

Deadline, i.e., June 30, 2018. The parties will require the requested additional time to complete

fact discovery. The Parties agree they will be unable to complete all such fact discovery prior to

the existing December 31, 2017 deadline. Further, the Parties are hopeful the Court will

determine the Motion to Dismiss as soon as possible. The Parties have each reserved all of their




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rights, remedies, and objections, including the right to seek further extensions of the discovery

deadline if warranted.

           WHEREFORE, the Parties pray that the Court allow this Motion, and amend paragraph 4

of the Scheduling Order to provide that all fact discovery shall be completed by June 30, 2018,

without prejudice to the Parties’ rights, remedies, and objections.

Dated: December 28, 2017                              Respectfully Submitted,


GRANT ARMSTRONG, ARMSTRONG RX                     WHITE WINSTON SELECT ASSET
GP, LLC,                                          FUNDS, LLC
By their attorneys,                               By its attorneys,

/s/ Patrick T. Clendenen                          /s/ Jeffrey D. Sternklar
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above document was served upon the attorney of
record for each other party electronically through this Court’s CM/ECF system on December 28,
2017.

                                                             /s/ Jeffrey D. Sternklar
Jeffrey D. Sternklar




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